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                      UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF OREGON

 In re                                            Case No. 22-30979-pcm11

 DH Parker Properties, LLC,                       UNITED STATES TRUSTEE’S
                                                  OBJECTION TO DEBTOR-IN-
                  Debtor-in-possession.           POSSESSION’S APPLICATION TO
                                                  EMPLOY BANKRUPTCY
                                                  COUNSEL (MOTSCHENBACHER
                                                  & BLATTNER)




                         UNITED STATES TRUSTEE’S OBJECTION

         Gregory M. Garvin, Acting United States Trustee for Region 18 (the “U.S. Trustee”), by

and through his undersigned counsel, objects to DH Parker Properties, LLC’s (“Debtor”)

Application to Employ Nicholas Henderson of the Motschenbacher & Blattner, LLP (the “Firm”)

as DIP counsel (ECF No. 11) (the "Application").

                       MEMORANDUM IN SUPPORT OF OBJECTION

                                The Firm's "Premium Rates" are Excessive

         The Application and attached fee agreement states that, due to Debtor's inability to

provide a retainer deposit, the Debtor must pay "premium hourly rates" for "cases entailing

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additional risk or difficulty in the engagement process." The "premium rates" are as follows:




         For comparison, the attorney rates are approximately 33%-43% higher than those charged

by this same firm in a chapter 11 case filed approximately three months before this case. See In

re Guildworks, LLC, Case No. 22-30388-thp11 ECF Doc. No. 11 p. 4. 1

         The Court should not approve the Application with the exorbitant rates it contains. The

purpose of the rule requiring prior court authorization of a professional's appointment is to

eliminate volunteerism and thus aid the court in controlling estate administrative expenses. In re

Haley, 950 F.2d 588, 590 (9th Cir. 1991). “At least one court has held that the court’s discretion

and consideration of good reason for disapproval are not limited to determinations of

disinterestedness.” 3 Collier on Bankruptcy P 327.04 (16th 2022), citing In re Kurtzman, 220

B.R. 538 (S.D.N.Y. 1998)(denial of employment application due to excessiveness of fee was not

abuse of discretion).

         Section 328 of the Bankruptcy Code sets forth certain limitations on the compensation


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 The image below is a screenshot of the Firm’s hourly rates in the employment application in that case. The U.S.
Trustee is not agreeing that the rates set out in the Guildworks employment application are reasonable; rather, they
are being used to demonstrate that the “premium rates” in this case are unreasonable.




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allowable to professionals employed under § 327. Specifically, the debtor may, “with the court’s

approval,” employ a professional person under § 327 “on any reasonable terms and conditions

of employment, including on a retainer, on an hourly basis, on a fixed or percentage fee basis, or

on a contingent fee basis.” 11 U.S.C. § 328(a). The Bankruptcy Code sets forth factors that a

court should consider in determining the amount of reasonable compensation; those include the

“rates charged for such services” and “whether the compensation is reasonable based on the

customary compensation charge by comparably skilled practitioners in cases other than cases

under this title.” 11 U.S.C. § 330(a)(3)(B), (F).

       Section 330(a)(3)(F) effectively bars firms from charging a “bankruptcy premium.” In

order to be “customary” for purposes of determining the reasonableness, the rates should be

similar to those negotiated by the Firm with its non-bankruptcy clients. The Firm must therefore

affirmatively demonstrate that the rates being charged are consistent with its rates for other

engagements. Here, the Application makes it clear that these are not customary rates. The Firm’s

statement that the lack of a retainer justifies the premium rates should be considered pretextual

unless the Firm can show that it regularly charges non-bankruptcy clients 40% more if they

cannot afford a retainer. This is particularly true because it is unclear how a retainer would affect

the Firm’s fees in this case. According to the Application, there are no outstanding pre-petition

fees. Any post-petition fees which could be paid from a retainer would be subject to a review for

reasonableness under §§ 330-331. The retainer itself would be property of the estate under §

541(a) unless and until the Court approved compensation and would be at risk of being turned

over to a trustee if the case were converted to chapter 7.

       Regardless of Sections 328(a) and 330(a)(3)(F), the premium rates in the Application are

unreasonable. Because schedules have not yet been filed, it is not possible to determine the

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extent of the value of Debtor’s real estate compared to secured and unsecured claims. The U.S.

Trustee reserves any potential additional arguments based upon that information. Generally

speaking, a professional’s compensation does not only affect the Debtor. It also affects creditors,

typically in the form of a dollar-for-dollar reduction in payment on claims. Their interests should

be considered in the determination of whether the Application should be granted as-is.

  The Court should not Delay a Decision on Reasonableness of the Premium Rates Until a Fee

                                        Application is Filed

        Unless a professional unambiguously seeks and obtains pre-approval of a fee structure

under § 328, its fees are subject to review under § 330. In re Circle K Corp., 279 F.3d 669, 671

(9th Cir. 2002). Because the Application does not seek pre-approval of the premium rates,

approval of the Application does not bar a review of the rates using the “lodestar” method under

§ 330. In re Eliapo, 468 F.3d 592, 598 (9th Cir. 2006)(lodestar is determined by multiplying the

number of hours reasonably expended by a reasonable hourly rate).

        However, the Court should address the issue of the premium rates at the employment

stage, rather than the fee application stage, for practical and principled reasons. First, addressing

the issue at the employment stage will provide clarity going forward, including in evaluating

estimated administrative fees in the plan confirmation process. Second. the issue of a firm’s

ability to charge a premium based on the debtor’s ability to afford a retainer is separate from a

determination of the reasonableness of a firm’s rates under the lodestar analysis; therefore, Court

does not need to decide a reasonable lodestar rate at the employment stage in order to reject the

notion of 40% premium due to the lack of a retainer.

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  DATED this 11th day of July 2022.

                                      Respectfully submitted,

                                      GREGORY M. GARVIN
                                      Acting United States Trustee for Region 18

                                      /s/ Christian A. Torimino
                                      CHRISTIAN A. TORIMINO
                                      WSBA #52927, Trial Attorney




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 11, 2022 I served a copy of the foregoing UNITED STATES

TRUSTEE’S OBJECTION TO DEBTOR-IN-POSSESSION’S APPLICATION TO EMPLOY

BANKRUPTCY COUNSEL (MOTSCHENBACHER & BLATTNER) on all parties included on

the Court’s CM/ECF electronic service list.




                                              GREGORY M. GARVIN
                                              Acting United States Trustee for Region 18


                                              /s/ Christian A. Torimino
                                              CHRISTIAN A. TORIMINO
                                              WSBA #52927, Trial Attorney




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